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    COUNSEL FOR THE DEBTORS
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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

      In re:                                               §    Chapter 11
                                                           §
      SPHERATURE INVESTMENTS LLC,                          §    Case No.: 20-42492
      et al.,                                              §
                                                           §
                      Debtors.1                            §    Jointly Administered

                                         NOTICE OF HEARING

          PLEASE TAKE NOTICE that the Honorable Brenda T. Rhoades, Bankruptcy Judge for

the United States Bankruptcy Court for the Eastern District of Texas (the “Court”), has set the

Debtors’ Motion for Order Extending the Exclusive Periods During Which Only Debtors May File

and Confirm a Plan [Docket No. 158] for hearing on April 6, 2021 at 2:30 PM (CT). Parties are

instructed to dial 1-888-675-2535, use Access No. 4225607 and Security No. 1246, as well as

directed to review the instructions contained in the link for all telephonic hearings before Judge

Rhoades: http://www.txeb.uscourts.gov/content/judgerhoades. The information can be found by




1
  The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are: Spherature
Investments LLC (“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures Marketing Holdings,
LLC (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV Marketplace”) EIN#6264;
WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255; WorldVentures Services, LLC (“WV Services”)
EIN#2220.

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accessing the Court’s webpage at www.txeb.uscourts.gov and choosing “Judge’s Info”, then

choosing “Judge Rhoades”, and then choosing “Telephonic Hearing” Tab.

         PLEASE TAKE FURTHER NOTICE that the all of the pleadings filed in these Cases

and supporting papers are available on the Court’s website at https://ecf.txeb.uscourts.gov/ and on

the website of the Debtors’ claims agent at https://cases.stretto.com/Spherature. You can also

request any pleading you need from the Debtors’ proposed counsel at: Foley & Lardner LLP, c/o

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DATED: March 3, 2021                         Respectfully submitted by:

                                             /s/ Marcus A. Helt
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on March 3, 2021, a true and correct copy of the foregoing document
was served electronically on all parties in interest to these Cases by the Court’s PACER system.

                                                     /s/ Stephen A. Jones
                                                     Stephen A. Jones




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